                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

ROBERT CAMPO,                              )
                                           )
                        Plaintiff,         )
                                           )
vs.                                        )      Case No. 19-00905-CV-W-ODS
                                           )
U.S. DEPARTMENT OF JUSTICE,                )
                                           )
                        Defendant.         )

         ORDER (1) GRANTING THE PARTIES’ REQUESTS TO LIFT THE STAY,
      (2) LIFTING THE STAY, (3) DENYING PLAINTIFF’S OTHER REQUESTS FOR
        RELIEF, (3) DIRECTING THE PARTIES TO FILE DISPOSITIVE MOTIONS,
            AND (4) DIRECTING DEFENDANT TO RESPOND TO PLAINTIFF’S
                    MOTION FOR JUDGMENT ON THE PLEADINGS
        On February 6, 2020, the Court stayed this matter pending the Eighth Circuit’s
disposition of Jordan v. United States Department of Labor, No. 19-1743. Doc. #14.
On February 21, 2020, the Eighth Circuit issued its decision in Jordan, affirming the
Court’s decisions to dismiss some claims as duplicative of another pending litigation
and granting summary judgment on the remaining claims. No. 18-6129 (Doc. #81-1).
After the Eighth Circuit issued its decision but before it issued its mandate, both parties
asked the Court to lift the stay in this matter. Docs. #18, 20.
        On May 5, 2020, the Eighth Circuit issued its mandate. No. 18-6129 (Doc. #82).
In doing so, the Eighth Circuit has disposed of the Jordan matter. 16AA Catherine T.
Struve, Federal Practice and Procedure § 3987 (4th ed. 2020). (stating “[u]ntil the
mandate issues…, the case ordinarily remains within the jurisdiction of the court of
appeals.”). Accordingly, the Court grants the parties’ requests to lift the stay and hereby
lifts the stay in this matter.
        Defendant requests the Court enter a briefing schedule, requiring the parties to
file dispositive motions within thirty days of the mandate being issued. Doc. #18 at 1.
Plaintiff argues Defendant’s request should be denied because Defendant has “failed to
ever show that tying the timing of proceedings in this case to proceedings in Jordan
2018 was not clearly contrary to clear and clearly-controlling plain language of the




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Constitution, federal law and Supreme Court and Eighth Circuit precedent.” Doc. #19,
at 1. He also contends Defendant “has refused to address any of Plaintiff’s analysis
establishing the blatant illegality” of the stay entered in this matter. Id. Finally, Plaintiff
argues Defendant’s motion fails to comply with the Local Rules and the Federal Rules
of Civil Procedure. Id. at 2. Plaintiff, however, does not provide an alternative
suggestion as to how this case should move forward.
       The Court directs the parties to file all dispositive motions by no later than June
3, 2020. In addition, Defendant shall file its response to Plaintiff’s Motion for Judgment
on the Pleadings (Doc. #13) by no later than June 3, 2020. The parties’ motions and
filings shall comply with the requirements set forth in the Local Rules and the Federal
Rules of Civil Procedure. Plaintiff’s remaining requests in his motions filed on February
2020 (Docs. #15, 16) and April 17, 2020 (Doc. #20) are denied.
IT IS SO ORDERED.

                                                     /s/ Ortrie D. Smith
 DATE: May 5, 2020                                   ORTRIE D. SMITH, SENIOR JUDGE
                                                     UNITED STATES DISTRICT COURT




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